EDTN     Judgment in a Criminal Case (Rev. 3/04)
         Sheet 1



                                       United States District Court
                                                   Eastern District of Tennessee

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                     v.                                                   (For Offenses Committed On or After November 1, 1987)
              TIMOTHY LOVEDAY
                                                                          Case Number:           3:06-CR-136-04

                                                                          Dennis Francis
                                                                          Defendant’s Attorney

THE DEFENDANT:
[ T]     pleaded guilty to count(s): one (1) of the Indictment
[]       pleaded nolo contendere to count(s)       which was accepted by the court.
[]       was found guilty on count(s)      after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                                                                 Date Offense               Count
Title & Section                          Nature of Offense                                       Concluded                  Number(s)

21:846, 841(a)(1)                        Conspiracy to Manufacture, Distribute, and              December 2004              1
841(b)(1)(A)                             Possess w/Intent to Distribute Methamphetamine




        The defendant is sentenced as provided in pages 2 through 6 of this judgment and the Statement of Reasons. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984 and 18 U.S.C. §3553.

[        The defendant has been found not guilty on count(s)

[        Count(s)      [] is [] are dismissed on the motion of the United States.

         IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the court and the United States attorney of any material change in the
defendant’s economic circumstances.

                                                                                                           July 11, 2007
                                                                        Date of Imposition of Judgment


                                                                                                    s/ Thomas W. Phillips
                                                                        Signature of Judicial Officer


                                                                                  THOMAS W. PHILLIPS, United States District Judge
                                                                        Name & Title of Judicial Officer


                                                                                                           July 11, 2007
                                                                        Date




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EDTN Judgement in a Criminal Case (Rev. 3/04)
     Sheet 2 — Imprisonment
                                                                                                                     Judgment - Page 2 of 6
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                                                             IMPRISONMENT
     The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of
64 months.




[T     The court makes the following recommendations to the Bureau of Prisons:

       That the defendant receive 500 hours of substance abuse treatment from the BOP Institution Residential Drug Abuse Treatment
       Program. That the defendant be designated to a BOP facility located in McCreary County, Kentucky or other facility as close to
       Knoxville, Tennessee as possible.

[T     The defendant is remanded to the custody of the United States Marshal.


[      The defendant shall surrender to the United States Marshal for this district:
       [ at [] a.m.         [] p.m. on
       [ as notified by the United States Marshal.


[      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       [ before 2 p.m. on
       [ as notified by the United States Marshal.
       [ as notified by the Probation or Pretrial Services Office.

                                                                       RETURN
I have executed this judgment as follows:




       Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                                           UNITED STATES MARSHAL



                                                                                                    By
                                                                                                         DEPUTY UNITED STATES MARSHAL




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     Sheet 3 — Supervised Release
                                                                                                                                     Judgment - Page 3 of 6
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                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of        five (5) years.



The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the custody of the
Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined by
the court.

[        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future substance
         abuse. (Check, if applicable.)

[T       The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

[T       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a student, as
         directed by the probation officer. (Check, if applicable.)

[        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any such fine or
restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set forth in the
Criminal Monetary Penalties sheet of this judgment.

The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall also comply
with the additional conditions on the attached page.


                                       STANDARD CONDITIONS OF SUPERVISION

    1)   the defendant shall not leave the judicial district without permission of the court or probation officer;
    2)   the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each
         month;
    3)   the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)   the defendant shall support his or her dependants and meet other family responsibilities;
    5)   the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
         reasons;
    6)   the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)   the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
         substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)   the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)   the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
         unless granted permission to do so by the probation officer;
10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission
         of the court;
13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
         or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's
         compliance with such notification requirement.



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    Sheet 3A - Supervised Release
                                                                                                         Judgment - Page 4 of 6
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                                  SPECIAL CONDITIONS OF SUPERVISION
1. The defendant shall participate in a program of testing and/or treatment for drug and/or alcohol abuse, as
directed by the probation officer, until such time as the defendant is released from the program by the probation
officer.




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EDTN Judgment in a Criminal Case (Rev.3/04)
     Sheet 5 — Criminal Monetary Penalties
                                                                                                                                            Judgment — Page 5 of 6
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                                               CRIMINAL MONETARY PENALTIES
   The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of
payments set forth on Sheet 6. The assessment is ordered in accordance with 18 U.S.C. § 3013.

                                                          Assessment                                 Fine                        Restitution
      Totals:                                              $ 100.00*                                  $                              $

* Special Assessment paid on the date of sentencing.

[     The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

[     The defendant shall make restitution (including community restitution) to the following payees in the amounts
      listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment,
      unless specified otherwise in the priority order or percentage payment column below. However, if the United
      States is a victim, all other victims, if any, shall receive full restitution before the United States receives any
      restitution, and all restitution shall be paid to the victims before any restitution is paid to a provider of
      compensation, pursuant to 18 U.S.C. §3664.

                                                                                                                              Priority Order
                                                           *Total                            Amount of                        or Percentage
Name of Payee                                           Amount of Loss                   Restitution Ordered                   of Payment



TOTALS:                                                      $                                   $


[       If applicable, restitution amount ordered pursuant to plea agreement $

        The defendant shall pay interest on any fine or restitution of more than $2500, unless the fine or restitution is
        paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §3612(f). All of the
        payment options on Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C.
        §3612(g).

[       The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

        [ The interest requirement is waived for the                         [ fine and/or                     [ restitution.

        [ The interest requirement for the                   [ fine and/or               [ restitution is modified as follows:




* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses committed on or after
September 13, 1994 but before April 23, 1996.
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EDTN Judgment in a Criminal Case (Rev. 3/04
     Sheet 6 — Schedule of Payments
                                                                                                                                  Judgment — Page 6 of 6
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                                                     SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A     [T    Lump sum payment of $ 100.00 immediately, balance due

            [ not later than , or
            [ in accordance with [ C, [ D, or [ E or [ F below; or

B     [     Payment to begin immediately (may be combined with [ C, [ D, or [ F below); or

C     [     Payment in       .g., equal, weekly, monthly, quarterly) installments of $        over a period of     (e.g., months or years), to
            commence       (e.g., 30 or 60 days) after the date of this judgment; or

D     [     Payment in       .g., equal, weekly, monthly, quarterly) installments of $ over a period of (e.g., months or years), to
            commence       (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E     [     Payment during the term of supervised release will commence within 1 (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that
            time; or

F     [     Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes a period of imprisonment, payment of criminal monetary
penalties is due during the period of imprisonment. Unless otherwise directed by the court, the probation officer, or the United
States attorney, all criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, shall be made to U.S. District Court, 800 Market St., Suite 130, Knoxville, TN 37902 able to
U.S. District Court, with a notation of the case number including defendant number.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


[     Joint and Several

      Defendant Name, Case Number, and Joint and Several Amount:



[     The defendant shall pay the cost of prosecution.

[     The defendant shall pay the following court cost(s):

[     The defendant shall forfeit the defendant’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) community
restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
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